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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
                                                             :
SYNTEL STERLING BEST SHORES                                  :
MAURITIUS LIMITED, et al.,                                   :
                                                             :       15 Civ. 211 (LGS)
              Plaintiffs/Counterclaim-Defendants, :
                                                             :            ORDER
                           -against-                         :
                                                             :
THE TRIZETTO GROUP, et al.,                                  :
                                                             :
              Defendants/Counterclaim-Plaintiffs. :
------------------------------------------------------------ X

LORNA G. SCHOFIELD, District Judge:

        It is ORDERED that the following deposition designations are permitted.

            Transcript                                PgFrom     LnFrom   PgTo    LnTo
            Chadha, Ankur 2018-02-20                  217        6        217     18
            Dekhtawala, Vipul 2018-02-13              78         22       79      21
            Dekhtawala, Vipul 2018-02-13              79         23       81      7
            Philip, Alex 2018-02-16                   86         12       86      15
            Philip, Alex 2018-02-16                   86         17       86      17
            Sinha, Sandeep 2018-03-05                 219        24       221     25
            Srivastava, Anjulika 2018-02-15           100        9        101     6

        It is further

        ORDERED that the following deposition designations are excluded.

            Transcript                                PgFrom     LnFrom   PgTo    LnTo
            Chadha, Ankur 2018-02-20                  301        24       301     25
            Chadha, Ankur 2018-02-20                  302        3        302     16
            Srivastava, Anjulika 2018-02-15           101        11       101     14
            Srivastava, Anjulika 2018-02-15           101        16       101     20

Dated: October 16, 2020
       New York, New York
